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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


  JENI RIEGER, ALOHA DAVIS, JODIE                  Case No. 1:21-cv-10546-NHL-EAP
  CHAPMAN,       CARRIE      VASEL,
  KAREN        BURNAUGH,        TOM
  GARDEN, ADA and ANGELI GOZON,
  HERNAN A. GONZALEZ, PATRICIA
  A. HENSLEY, CLYDIENE FRANCIS,
  PETER LOWEGARD, and GRANT
  BRADLEY, individually and on behalf
  of a class of similarly situated
  individuals,

                     Plaintiffs,

             v.

  VOLKSWAGEN            GROUP      OF
  AMERICA, INC., a New Jersey
  corporation, d/b/a AUDI OF AMERICA,
  INC.,

                     Defendant.
  .

                PLAINTIFFS’ BRIEF IN SUPPORT OF
           THEIR UNOPPOSED MOTION FOR PRELIMINARY
            APPROVAL OF CLASS ACTION SETTLEMENT
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 I.    INTRODUCTION
       As the Court appointed interim Rule 23(g) counsel in this matter (ECF 66),

 we hereby advise the Court that after nearly two-and-a-half years of litigation, the
 Parties1 have reached a nationwide class settlement of this consumer class action on
 behalf of all persons and entities who purchased or leased, in the United States and

 Puerto Rico, certain model year Audi vehicles that were imported and distributed by
 Defendant Volkswagen Group of America, Inc. (“VWGoA” or “Defendant”) for sale
 or lease in the United States or Puerto Rico (“Settlement Class Vehicles”).2 Plaintiffs

 respectfully seek preliminary approval of the Parties’ proposed Class Settlement
 Agreement (“Settlement”). As discussed below, this Settlement, which affords
 substantial benefits to the Settlement Class, was the result of extensive arm’s length

 negotiations of highly disputed claims by experienced class action counsel. Plaintiffs
 claim that the pistons rings and/or piston/piston heads in the Settlement Class
 Vehicles’ 2.0-liter turbocharged engines are defective in that they cause excessive


 1
   The named Plaintiffs who are Parties to the Settlement Agreement, individually
 and as representatives of the Settlement Class, are Plaintiffs Tom Garden, Carrie
 Vassel, Karen Burnaugh, Grant Bradley, Clydiene Francis, Ada Gozon and Angeli
 Gozon, Peter Lowegard, and Patricia Hensley (collectively, “Plaintiffs”). “Parties”
 is defined as Plaintiffs and Defendant Volkswagen Group of America, Inc. Unless
 indicated otherwise, capitalized terms used herein have the same meaning as those
 defined by the Settlement Agreement, attached as Exhibit 1 to the Declaration of
 Tarek H. Zohdy (“Zohdy Decl.”).
 2
   Settlement Class Vehicles include only certain of the following models and model
 years: 2012, 2013, and 2014 Audi A4, A5, A6, and Q5 vehicles; model year 2012,
 2013, 2014, 2016 and 2017 Audi TT vehicles, and model year 2015, 2016 and 2017
 Audi A3 vehicles. A complete list of the Vehicle Identification Numbers of included
 Settlement Class Vehicles is attached as Exhibit 4 to the Settlement Agreement.



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 oil consumption and can cause the pistons and the engine itself to fail. Plaintiffs have
 asserted claims under theories of, inter alia, breach of express and implied

 warranties and violation of the state fraud and consumer-protections statutes of states
 in which Plaintiffs purchased their vehicles or are domiciled. VWGoA denies these
 allegations and maintains that the subject vehicles’ pistons are not defective, were

 properly designed, manufactured, marketed, distributed and sold, and function
 properly. VWGoA further maintains that no express or implied warranties were
 breached, and no consumer statutes or common law duties were violated.

       The proposed nationwide Class Settlement (hereinafter “Settlement” or
 “Class Settlement”) was the culmination of extensive arms-length negotiations,
 ultimately reached with the assistance of a respected neutral Mediator who is highly

 experienced in class action settlements. The Settlement, described more fully below,
 provides Settlement Class Members with immediate and valuable relief, including a
 warranty extension and reimbursement for past covered repairs, that directly
 addresses issues applicable to respective categories of the Settlement Class Vehicles.
 It is fair, reasonable, and adequate, and complies in all respects with Fed. R. Civ. P.
 23 (“Rule 23”).
       Plaintiffs accordingly request that this Court review their negotiated
 Settlement Agreement, attached as Exhibit A to the accompanying Declaration of
 Tarek H. Zohdy, and enter an order: (1) granting preliminary approval of the
 Settlement; (2) conditionally certifying the proposed Settlement Class for settlement
 purposes; (3) conditionally appointing Plaintiffs as the Settlement Class
 Representatives and Plaintiffs’ approved Interim Rule 23(g) Class Counsel, Berger



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 Montague PC, Capstone Law APC, and Ladah Law Firm, as Settlement Class
 Counsel; (4) approving the Parties’ proposed Class Notice Plan for disseminating

 the Class Notice; (5) conditionally appointing JND Legal Administration as the
 Settlement Claim Administrator; (6) setting deadlines for the filing of any objections
 to, or requests for exclusion from, the Settlement, and other submissions in

 connection with the Settlement approval process; and (7) setting a hearing date and
 briefing schedule for Final Approval of the Settlement and Plaintiffs’ application for
 service awards and attorneys’ fees and expenses.

 II.   FACTUAL BACKGROUND

       A.     Plaintiffs’ Experiences With the Class Vehicles

       This nationwide class action arises out of an alleged defect in certain model
 year 2012-2017 Audi vehicles equipped with the Audi 2.0T engine. Plaintiffs allege

 that the pistons and/or piston heads in the vehicles’ engine are defective, causing
 excessive oil consumption or piston fracture, and in some instances, can potentially
 lead to engine damage. Each of the settling Plaintiffs asserts that they purchased a
 settlement class vehicle that experienced excessive oil consumption or a piston issue,
 requiring repair. Certain Plaintiffs allege that they paid out of pocket for repairs to
 address these issues, and others contend that they were unable to afford such repairs.

 Defendant asserts these engines are not defective, and the cause of damage was due
 to lack of or improper maintenance, improper usage of the subject vehicles and/or
 other outside influence.




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        B.    Overview of the Litigation and Settlement Negotiations

        The Complaint asserting a nationwide putative class action was originally
 filed on April 30, 2021, and was amended on May 6, 2021 (First Amended

 Complaint) and July 26, 2021 (Second Amended Complaint) adding multiple named
 plaintiffs, including most of the Plaintiffs here. See ECF 11 and 36; Zohdy Decl. ¶¶
 2-3.

        On August 5, 2021, Plaintiff Hernan A. Gonzalez, represented by Class
 Counsel, filed Gonzalez v. Volkswagen Group of America, et al., in Superior Court
 of the State of New Jersey, Mercer County, Law Division, under Docket No. L-
 001632-21. Zohdy Decl. ¶ 4. On August 9, 2021, Defendant filed a notice of
 removal of the Gonzalez action to this Court. See Gonzalez v. Volkswagen Group of
 America, et al., Civil Case No. 1:21-cv-15026-NLH-MJS, ECF 1. On September
 30, 2021, pursuant to Consent Motion of the Parties, this Court entered an order
 consolidating Gonzalez with and into this action, and directing the filing of a
 Consolidated Class Action Complaint, which was filed on October 12, 2021. ECF
 42, 45; Zohdy Decl. ¶ 4.
        Defendant VWGoA filed a motion to dismiss the Consolidated Class Action
 Complaint on December 3, 2021. ECF 53; Zohdy Decl. ¶ 5. Substantial briefing on

 that motion thereafter ensued, with Plaintiffs filing an extensive opposition on
 January 14, 2022 (ECF 55; Zohdy Decl. ¶ 5), and VWGoA filing a reply on February
 11, 2022. ECF 59; Zohdy Decl. ¶ 5.3 On May 4, 2023, the Court granted in part and

 3
  On June 23, 2022, Mishkin v. Volkswagen Group of America, Inc. was filed in U.S.
 District Court for the Eastern District of Missouri involving the same vehicles and



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 denied in part the motion to dismiss, with leave to amend. ECF 66; Zohdy Decl. ¶ 6.
 As a result, on June 2, 2023, Plaintiffs filed the First Amended Consolidated Class

 Action Complaint. ECF 67; Zohdy Decl. ¶ 7.4
       In Spring 2023, the Parties initially discussed the possibility of settlement, and
 the Parties agreed to participate in mediation before an experienced mediator. Zohdy

 Decl. ¶ 8. On July 7, 2023, following extensive settlement negotiations, the Parties
 engaged in a vigorous day-long mediation before Bradley A. Winters, Esq., a
 respected and very experienced neutral class action Mediator with JAMS during

 which the Parties reached agreement on the material terms of a settlement in
 principle. Id. at ¶ 9. The Parties continued negotiations, exchanging additional
 information and finalizing the details of this nationwide settlement. Id. at ¶ 10.

 Following further review of the information exchanged and investigation of the


 alleging the same defect and underlying allegations on behalf of a Missouri Plaintiff
 and a putative Missouri-only class. Since Mishkin’s Missouri-only putative class
 members were already encompassed within this action’s putative nationwide class,
 the Missouri court, on October 11, 2022, transferred Mishkin to this Court, and that
 action was assigned to Judge Hillman under 1:22-cv-06127-NLH-EAP. Other than
 VWGoA’s motion to dismiss (Mishkin ECF 41), which this Court granted in part
 and denied in part (Id., ECF 52), there has been no litigation activity in the Mishkin
 action, nor did Mishkin’s counsel, who was well aware of this action, ever object to
 Class Counsel’s appointment as Rule 23(g) interim class counsel for the nationwide
 class (ECF 66). The nationwide Class Settlement herein encompasses Mishkin and
 his putative Missouri-only class. This Court recently scheduled a Case Management
 Conference in Mishkin for November 1, 2023, and an application will be made to
 stay all proceedings in that case pending the Court’s final determination of whether
 to approve this nationwide Class Settlement.
 4
  On October 10, 2023, Plaintiff Jeni Rieger, Jodie Chapman, Aloha Davis, and
 Hernan A. Gonzalez filed voluntary dismissals of their claims. See ECF 81.




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 claims extensively, the Parties finalized the terms of the settlement and reduced
 those terms to a formal Settlement Agreement. Based on the information exchanged

 as well as a thorough investigation prior to filing the Complaint, including
 interviewing putative Class Members, researching publicly available materials, and
 inspecting Class Vehicles, Class Counsel gained a thorough understanding of both

 the strengths and weaknesses of Plaintiffs’ claims and believe the proposed terms of
 the Settlement Agreement represent a substantial recovery on behalf of the putative
 Class. Id. at ¶¶ 10, 12-15.

         Only after agreeing to the structure and material terms for settlement of the
 Class claims, the Parties negotiated, including during an additional mediation with
 Mr. Winters on August 21, 2023, and ultimately agreed upon an appropriate request

 for incentive awards and Plaintiffs’ attorneys’ fees and expenses. Zohdy Decl. ¶ 11.
 All the terms of the Settlement Agreement are the result of extensive, adversarial,
 and arm’s-length negotiations between experienced counsel for both sides. Id. The
 settlement is set forth in complete and final form in the Settlement Agreement. Id.,
 Zohdy Decl., Ex. A.
 III.    MATERIAL TERMS OF THE PROPOSED SETTLEMENT

         A.    The Settlement Benefits

         If approved, the Settlement will provide to all persons and entities who
 purchased or leased a Settlement Class Vehicle in the United States and Puerto Rico
 (“Settlement Class”) 5 substantial benefits that squarely address the issues in this

 5
     The Settlement Class Vehicles are certain model year 2012, 2013, and 2014 Audi



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 litigation. The Settlement provides for an extensive warranty extension and a
 reimbursement of certain previous past-paid out-of-pocket repair expenses, as

 follows.

            1.      Warranty Extension for Current Owners and Lessees of
                    Settlement Class Vehicles

       Effective on the Court-ordered date by which the Claim Administrator shall

 mail the Class Notice of this Settlement to the Settlement Class (the “Notice Date”),
 VWGoA will extend the New Vehicle Limited Warranties (“NVLWs”) for the
 Settlement Class Vehicles to cover 75% of the cost of repair (parts and labor), by an

 authorized Audi dealer, of the following during a period of up to nine (9) years or
 ninety-thousand (90,000) miles (whichever occurs first) from the Settlement Class

 A4, A5, A6 and Q5 vehicles, certain model years 2012, 2013, 2014, 2016 and 2017
 Audi TT vehicles, and certain model year 2015, 2016 and 2017 Audi A3 vehicles
 imported and distributed by VWGoA for sale or lease in the United States or Puerto
 Rico and are specifically designated by Vehicle Identification Number on Exhibit 4
 to the Settlement Agreement. The benefits afforded by this Settlement Agreement
 differ among certain models/model years of the Settlement Class Vehicles.
 Excluded from the Settlement Class are: (a) all Judges who have presided over the
 Action and their spouses; (b) all current employees, officers, directors, agents and
 representatives of Defendant, and their family members; (c) any affiliate, parent or
 subsidiary of Defendant and any entity in which Defendant has a controlling interest;
 (d) anyone acting as a used car dealer; (e) anyone who purchased a Settlement Class
 Vehicle for the purpose of commercial resale; (f) anyone who purchased a
 Settlement Class Vehicle with salvaged title and/or any insurance company that
 acquired a Settlement Class Vehicle as a result of a total loss; (g) any insurer of a
 Settlement Class Vehicle; (h) issuers of extended vehicle warranties and service
 contracts; (i) any Settlement Class Member who, prior to the date of this Agreement,
 settled with and released Defendant or any Released Parties from any Released
 Claims, and (j) any Settlement Class Member who files a timely and proper Request
 for Exclusion from the Settlement Class. See Settlement Agreement [“S.A.”] section
 I.V.



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 Vehicle’s In-Service Date: (1) for Audi A4, A5, A6, Q5 and Model Year 2012-2014
 Audi TT Settlement Class Vehicles only – a diagnosed condition of excessive oil

 consumption by an authorized Audi dealer, as confirmed by an authorized Audi
 dealer’s oil consumption test,6 or (2) for Audi A3 and Model Year 2016-2017 Audi
 TT Settlement Class Vehicles only – a diagnosed condition of a fractured piston by

 an authorized Audi dealer. S.A. § II.A.
       The Warranty Extension shall also cover a percentage, based on a Sliding
 Scale detailed in the Settlement, of the cost of repair (parts and labor), by an

 authorized Audi dealer, of a diagnosed condition of engine damage which was
 directly caused by excessive oil consumption (for Audi A4, A5, A6, Q5, and Model
 Year 2012-2014 Audi TT Settlement Class Vehicles only), or a diagnosed condition

 of engine damage other than to a piston which was directly caused by a fractured
 piston (for Audi A3 and Model Year 2016-2017 Audi TT Settlement Class Vehicles
 only), during the aforesaid period of nine (9) years or ninety-thousand (90,000) miles
 (whichever occurs first) from the applicable Settlement Class Vehicle’s In-Service
 Date. As to all Settlement Class Vehicles, the Warranty Extension is conditioned
 upon the Settlement Class Member providing, to the dealer, Proof of Adherence to
 Maintenance Requirements. Id. The Warranty Extension is subject to the same
 terms, conditions, and limitations set forth in the Settlement Class Vehicle’s original
 NVLW and Warranty Information Booklet, and shall be fully transferable to


 6
   If an oil consumption repair is performed under the warranty extension, then the
 cost of the oil consumption test that led to said repair shall likewise be covered at
 the same percentage (75%) as provided under the warranty extension.



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 subsequent owners to the extent that its extended time and mileage limitation periods
 have not expired. S.A. § II.A.

       Further, if a Settlement Class Vehicle’s Warranty Extension time period from
 the In-Service Date has already expired as of the Notice Date, then for that
 Settlement Class Vehicle only, the Warranty Extension time and mileage limitations

 shall be for a period of up to seventy (70) days after the Notice Date or ninety-
 thousand (90,000) miles from the Settlement Class Vehicle’s In-Service Date
 (whichever occurs first), subject to the same conditions and limitations set forth

 above. Id. Prior to the Notice Date, VWGoA will advise authorized Audi dealers of
 the Settlement’s Warranty Extension, so that the Warranty Extension may be
 implemented in accordance with the terms and conditions of this Settlement

 Agreement. Id. at § IV.B.8.

            2.       Reimbursement of Certain Past Paid Out-of-Pocket Repair
                     Expenses

       In addition to the very substantial Warranty Extension, the Settlement
 provides that Settlement Class Members who timely mail to the Settlement Claim
 Administrator a Claim for Reimbursement (i.e., a fully completed, dated and signed
 Claim Form together with all Proof of Repair Expense and Proof of Adherence to

 Maintenance Requirements documentation) shall be eligible for 75% reimbursement
 of the paid (and unreimbursed) cost (i.e., parts and labor) of a past repair (limited to
 one (1) past repair) that was performed on a Settlement Class Vehicle prior to the
 Notice Date and within nine (9) years or ninety-thousand (90,000) miles (whichever
 occurred first) from the Settlement Class Vehicle’s In-Service Date, to address the



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 following: (i) for Audi A4, A5, A6, Q5 and Model Year 2012-2014 Audi TT
 Settlement Class Vehicles only – a diagnosed condition of excessive oil

 consumption as confirmed by an authorized Audi dealer’s oil consumption test, or
 (ii) for Audi A3 and Model Year 2016-2017 Audi TT Settlement Class Vehicles only
 - a diagnosed condition of a fractured piston(s). S.A. § II.B.1.

       Reimbursement shall also include a percentage, determined by the same
 percentages of coverage set forth in the Sliding Scale in the Settlement, of the past
 paid (and unreimbursed) cost (i.e., parts and labor) of repair (limited to one (1) past

 repair), performed prior to the Notice Date and within nine (9) years or ninety-
 thousand (90,000) miles (whichever occurred first) from the Settlement Class
 Vehicle’s In-Service Date, of: (1) for Audi A4, A5, A6, Q5 and 2012-2014 Audi TT

 Settlement Class Vehicles only – engine damage which was diagnosed to be directly
 caused by excessive oil consumption, or (2) for Audi A3 and 2016-2017 Audi TT
 Settlement Class Vehicles only - engine damage other than to a piston which was
 diagnosed to be directly caused by a fractured piston. S.A. § II.B.1.

       B.     Release of Claims/Liability

       In consideration of the Settlement benefits, VWGoA and its related entities
 and affiliates (the “Release Parties,” as defined in S.A. § I.U.) will receive a release

 of claims and potential claims related to the alleged defects in the Settlement Class
 Vehicles that are the subject of this litigation and Settlement, including the claims
 that were or could have been asserted in the litigation (the “Released Claims,” as

 defined in S.A. § I.T.). The scope of the release properly reflects the issues,
 allegations and claims in this case, and specifically excludes claims for personal



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 injury and property damage (other than damage to the Settlement Class Vehicle
 itself). Id.

        C.      Claim Submission and Administration

        The Parties agreed to retain JND Legal Administration as the Claim
 Administrator. S.A. §I.C. The Claim Administrator will carry out the Notice Plan
 (discussed below), disseminate the CAFA notice, administer any requests for

 exclusion, and administer the Claims process including the review and determination
 of reimbursement claims, and distribution of payments to eligible Claimants whose
 claims are complete and have been approved under the Settlement terms. Id.at §§
 III.B. and IV. Pursuant to the Settlement, VWGoA will pay all administrative costs
 separate and apart from any benefits to which the Settlement Class Members may
 be entitled. Id. § III.A. Thus, none of the Settlement Administration costs will be

 borne by the Class Members in any way.
        The Settlement also provides for a fair, equitable, and straightforward claims
 process for Settlement Class Members. For each complete claim that is approved,
 the Claim Administrator will mail a reimbursement check to the Settlement Class
 Member within the later of 150 days after submission of the completed Claim, or
 150 days after the Effective Date of the Settlement. S.A. § III.B. Significantly, the

 Settlement provides that if a claim and/or its supporting documentation is incomplete
 or deficient, the Claim Administrator will mail the Settlement Class Member a letter
 or notice outlining the deficiencies and affording a 30-day period to cure them. Id.

 The Claim Administrator’s decision is final, but any Settlement Class Member that
 disagrees with the ultimate denial of his/her/its/their reimbursement claim, in whole



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 or in part, may request an “attorney review” of that decision within 15 days of such
 denial. Id. at § III.B.4 If an attorney review is requested, Class Counsel and Defense

 Counsel will confer and make good faith efforts to resolve the disputed denial. Id.
       The Class Notice, its accompanying Claim Form, and a settlement website all
 provide the necessary details, including how and by when reimbursement claim must

 be submitted, what information and documentary proof is required for a valid claim,
 and how to contact the Claim Administrator, or Class Counsel, with any questions
 or requests for assistance with respect to a claim. Indeed, the Class Notice and

 settlement website provide the mailing address, the email address and a toll-free
 telephone number for Class Members to contact the Claim Administrator. S.A. §
 IV.B.6.

       D.     The Proposed Class Notice Plan

       The Settlement Agreement contains an effective Notice Plan to be paid for
 solely by VWGoA. S.A. § III.A. Class Notice, together with the Claim Form, will
 be mailed to Settlement Class Members via first class mail within 100 days after
 entry of the Court’s Order preliminarily approving this proposed Settlement. (Id. at
 section IV.B.1.) Settlement Class Members will be located based on the Settlement
 Class Vehicles’ VIN (vehicle identification) numbers and using the services of

 Polk/IHS Markit or equivalent company like Experian. (Id. at section IV.B.2.) These
 established services obtain vehicle ownership histories through state title and
 registration records, thereby identifying the names and addresses of record of the




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 Settlement Class Members.7 The Settlement Claim Administrator will then compare
 the obtained addresses to information in the National Change of Address database

 to confirm that addresses for mailing are the most current addresses possible. In
 addition, after the Class Notice is mailed, for any individual mailed Notice that is
 returned as undeliverable, the Claim Administrator will re-mail to any provided

 forwarding address, and for any undeliverable notice packets where no forwarding
 address is provided, the Claim Administrator will perform an advanced address
 search (e.g., a skip trace) and re-mail any undeliverable Class Notice packets to any

 new and current addresses located. Id. at section IV.B.3.
       In addition to the mailing, the Claim Administrator will, with input from
 counsel for both Parties, establish a dedicated Settlement website that will include

 details regarding the lawsuit, the Settlement and its benefits, and the Settlement
 Class Members’ legal rights and options including objecting to or requesting to be
 excluded from the Settlement and/or not doing anything; instructions on how and
 when to submit a claim for reimbursement; instructions on how to contact the Claim
 Administrator by e-mail, mail or (toll-free) telephone; copies of the Class Notice,
 Claim Form, Settlement Agreement, Motions and Orders relating to the Preliminary
 and Final Approval processes and determinations, and important submissions and
 documents relating thereto; important dates pertaining to the Settlement including


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  The 100-day time period for mailing of the Class Notice is needed to obtain the
 vehicle ownership and history records from the DMVs and/or state agencies of the
 50 states and Puerto Rico, which typically several weeks to obtain, and for the Claim
 Administrator to identify the names and last known addresses of the Settlement Class
 Member to whom the Class Notice will be mailed.



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 the deadline to opt-out of or object to the Settlement, the deadline to submit a claim
 for reimbursement, and the date, place and time of the Final Fairness Hearing; and

 answers to Frequently Asked Questions (FAQs). S.A. § IV.B.6.
       The Class Notice (Ex. 2 to Settlement Agreement) is very detailed and more
 than complies with Rule 23(c)(2)(B). It clearly and concisely states in plain, easily

 understood language the nature of the action; the Settlement Class definition; the
 class claims, issues and/or defendant’s positions; the Settlement terms and benefits
 available under the Settlement; the claim submission process including details and

 instructions regarding how and when to submit a Claim for reimbursement and the
 required proof/documentation for a Claim; the release of claims under the
 Settlement; the manner of and deadline by which Settlement Class Members may

 object to the Settlement, Class Counsel’s requested fee/expense award, and/or the
 Plaintiffs’ requested service awards; the manner of and deadline by which a
 Settlement Class Member may request to be excluded from the Settlement; the
 binding effect of the Settlement and release upon Settlement Class Members that do
 not timely and properly exclude themselves from the Settlement; the procedure by
 which Settlement Class Members may appear at the final fairness hearing
 individually and/or through counsel; the settlement website address; how to contact
 the Claim Administrator (through the dedicated toll-free number, email or by mail)
 with any questions about the settlement or requests for assistance, the identities of
 and contact information for Class Counsel; and other important information about
 the Settlement and the Settlement Class Members’ rights. See S.A., Ex. 2.
       Pursuant to 28 U.S.C. § 1715, the Class Action Fairness Act of 2005, the



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 Claim Administrator will also provide timely notice to the U.S. Attorney General
 and the applicable State Attorneys General (“CAFA Notice”) so that they may

 review the proposed Settlement and raise any comments or concerns to the Court’s
 attention prior to final approval. S.A. § IV.A.

       E.     Proposed Attorneys’ Fees, Litigation Expenses, and Service
              Awards

       The Parties did not discuss the issues of Class Representative service awards
 or reasonable Class Counsel attorneys’ fees and expenses until after agreement was
 reached on the material terms of the Settlement, Thereafter, the Parties, at arm’s

 length and with the assistance of an experienced mediator, were able to negotiate
 sums for attorneys’ fees, expenses, and service awards separately, with the amount
 finally awarded by the Court not affecting the Class benefits in any way. See S.A. §

 V.III.C. Subject to Court approval, VWGoA has agreed to not oppose Class
 Counsels’ application for attorneys’ fees and documented costs of a combined
 collective sum up to $2,200,000. Id.
       Also subject to Court approval, the Settlement Agreement provides for service
 awards to the named Class Representatives for their efforts to secure relief on behalf
 of the Settlement Class, in the amount of $5,000.00, each,8 to be paid separately from

 the benefits to the Settlement Class. S.A. §§ VIII.C. VWGoA pays that to Class
 Counsel to distribute – the Claim Admininstrator does not pay out the service awards

 8
   The Settlement Class Representatives Tom Garden, Carrie Vassel, Karen
 Burnaugh, Grant Bradley, Clydiene Francis, Peter Lowegard, and Patricia Hensley
 will be paid $5,000 each. Settlement Class Representatives Ada and Angeli Gozon
 will collectively receive a single $5,000 service award. S.A. § VIII.C.1.



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       VWGoA will pay to the Claims Administrator the total amount of service
 awards approved by the Court, and the Claim Administrator will distribute to each

 Plaintiff. Id. Further details will be provided when Plaintiffs submit their application
 for fees, costs, and service awards.
 IV.   ARGUMENT

       A.     The Court Should Grant Preliminary Approval of the Class
              Settlement

       In the Third Circuit, there is a strong policy that favors settlements in class
 actions. See In re Pet Food Prod. Liab. Litig., 629 F.3d 333, 351 (3d Cir. 2010) (“We

 reaffirm the ‘overriding public interest is settling class action litigation.’”) (quoting
 In re Warfarin Sodium Antitrust Litig., 391 F.3d 516, 535 (3d Cir. 2004); In re
 Warfarin Sodium Antitrust Litig., 391 F.3d at 535 (“[T]here is an overriding public

 interest in settling class action litigation, and it should therefore be encouraged”); In
 re Sch. Asbestos Litig., 921 F.2d 1330, 1333 (3d Cir. 1990) (The court “encourage[s]
 settlement of complex litigation ‘that otherwise could linger for years’”).
       The ultimate approval of a class action settlement depends on whether the
 settlement is fair, adequate, and reasonable. Girsh v. Jepson, 521 F.2d 153, 156-57
 (3d Cir. 1975). Unlike final approval, “[p]reliminary approval is not binding, and it

 is granted unless a proposed settlement is obviously deficient.” Udeen v. Subaru of
 Am., Inc., 2019 WL 4894568, at *2 (D.N.J. Oct. 4, 2019) (collecting cases and
 quoting Shapiro v. All. MMA, Inc., 2018 WL 3158812, at *3 (D.N.J. June 28, 2018);
 Rudel Corp. v. Heartland Payment Sys., Inc., 2017 WL 4422416, at *2 (D.N.J. Oct.
 4, 2017) (finding “[t]he proposed settlement agreement here meets the not



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 ‘obviously deficient’ standard.”) Settlements “are generally approved when they
 emerge from serious, non-collusive negotiations, do not give preferential treatment

 to certain segments of the class or class representatives, and fall with the range of
 possible approval.” Rudel Corporation, 2017 WL 4422416, at *2.
       At this preliminary stage, “the Court is required to determine only whether the

 proposed settlement discloses grounds to doubt its fairness or other obvious
 deficiencies such as unduly preferential treatment of class representatives or
 segments of the class, or excessive compensation of attorneys, and whether it

 appears to fall within the range of possible approval.” In re Nat’l Football League
 Players’ Concussion Injury Litig. (“In re NFL”), 301 F.R.D. 191, 198 (E.D. Pa.
 2014) (quoting Mehling v. New York Life Ins., 246 F.R.D. 467, 472 (E.D.Pa.2007)

 (citations omitted)). Indeed, “a presumption of fairness exists where a settlement has
 been negotiated at arm’s length, discovery is sufficient, the settlement proponents
 are experienced in similar matters and there are few objectors.” In re Ins. Brokerage
 Antitrust Litig., 297 F.R.D. 136, 144 (D.N.J. 2013) (citing In re Warfarin Sodium
 Antitrust Litig., 391 F.3d at 535).9 This approach is consistent with the principle that
 “settlement of litigation is especially favored by courts in the class action setting.”
 In re Insurance Brokerage Antitrust Litig., 297 F.R.D. at 144.

 9
  As the leading commentator on class actions has noted, courts may adopt an initial
 presumption of fairness when a proposed class settlement, which was negotiated at
 arm’s length by counsel for the class, is presented for court approval. See W.
 Rubenstein & H. Newberg ,Newberg and Rubenstein on Class Actions, § 13:13 and
 n.9 (6th ed. 2022); see also Little Rock Sch. Dist. v. Pulaski Cnty. Special Sch. Dist.
 No. 1, 921 F.2d 1371, 1391 (8th Cir. 1990) (stating that class action settlement
 agreements “are presumptively valid”).



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       In determining whether the proposed settlement falls within the “range of
 reasonableness,” district courts within the Third Circuit typically consider factors

 such as: (i) whether the negotiations occurred at arm’s length; (ii) whether there was
 sufficient discovery; and (iii) whether the proponents of the settlement are
 experienced in similar litigation.10 In re Gen. Motors Corp. Pick-Up Fuel Tank Prod.

 Liab. Litig., 55 F.3d 768, 785 (3d Cir. 1995). Under Rule 23, a settlement falls within
 the “range of possible approval,” if there is a conceivable basis for presuming that
 the standard applied for final approval—fairness, adequacy, and reasonableness—

 will be satisfied. In re NFL, 301 F.R.D. at 198. Here, because there are no “obvious
 deficiencies” in the Settlement Agreement, nor any “grounds to doubt its fairness,”
 the standards for granting preliminary approval are readily satisfied and the factors

 above are easily met.

            1.       The Settlement Is the Result of Arm’s-Length Negotiations

       Under Rule 23(e)(2)(A) and (B), the Court should “consider whether the
 settlement is proposed by experienced counsel who reached the agreed-upon terms


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   At the final approval stage, courts in the Third Circuit apply a nine factor “Girsh”
 analysis to assess the fairness, adequacy, and reasonableness of the proposed class
 action settlement. Specifically, the Court would review the settlement in light of the
 factors established by Girsh, 521 F.2d at 157: (1) the complexity, expense and likely
 duration of the litigation; (2) the reaction of the class to the settlement; (3) the stage
 of the proceedings and the amount of discovery completed; (4) the risks of
 establishing liability; (5) the risk of establishing damages; (6) the risks of
 maintaining the class action through the trial; (7) the ability of defendants to
 withstand a greater judgment; (8) the range of reasonableness of the settlement fund
 in light of the best possible recovery; and (9) the range of reasonableness of the
 settlement fund to a possible recovery in light of all the attendant risks of litigation.
 See also In re Rite Aid Corp. Sec. Litig., 396 F.3d 294, 301 (3d Cir. 2005).


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 through arms-length bargaining.” Alves v. Main, 2012 WL 6043272, at *9 (D.N.J.
 Dec. 4, 2012). “A settlement is presumed fair when it results from ‘arm's-length

 negotiations between experienced, capable counsel after meaningful discovery.”’
 Udeen, 2019 WL 4894568, at *2 (citation omitted). This applies here as the
 settlement was the result of months-long negotiations and two mediations conducted

 by a neutral mediator between the Parties. Zohdy Decl. ¶¶ 9-11. The Parties first
 reached an agreement with respect to the terms of the Settlement, prior to negotiating
 the Class Representatives’ service awards and attorneys’ fees. Id.

       Further, counsel on both sides are experienced class action litigators,
 including litigating class action automotive cases such as this action. The Parties
 only entered into the Settlement Agreement after diligently exploring the strengths

 and weaknesses of their claims and defenses, as discussed further below. Zohdy
 Decl. ¶¶ 11-15. Moreover, as courts have emphasized, the views of experienced
 counsel supporting settlement should be accorded substantial weight. See Glaberson
 v. Comcast Corp., 2014 WL 7008539, at *4 (E.D. Pa. Dec. 12, 2014) (a settlement
 is presumed to be fair “when the negotiations were at arm’s length, there was
 sufficient discovery, and the proponents of the settlement are experienced in similar
 litigation”); Rolland v. Cellucci, 191 F.R.D. 3, 10 (D. Mass. 2000) (“When the
 parties’ attorneys are experienced and knowledgeable about the facts and claims,
 their representations to the court that the settlement provides class relief which is
 fair, reasonable and adequate should be given significant weight.”).
       Here, Interim Class Counsel, who are highly experienced class action
 litigators with national reputations, have made a considered judgment regarding the



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 risks, benefits, and duration of further litigation and have concluded - based on their
 deep familiarity with the factual and legal issues in this case, extensive pre-litigation

 investigation, interviews with many putative Class Members, information provided
 by Defendant, vehicle inspections, and their independent research - that the
 Settlement is not only fair, reasonable, and adequate, but a very favorable result for

 the Settlement Class that should be granted preliminary approval.

            2.       The Extent of Discovery Completed Supports Preliminary
                     Approval

       Interim Class Counsel obtained sufficient informal information from

 Defendant to enter into the proposed Settlement on a fully informed basis. Class
 Counsel conducted a detailed investigation into the origins and nature of the issues
 reported by owners of the vehicles who had contacted them. Before filing the

 Complaint, Class Counsel inspected Plaintiffs’ vehicles, documented their issues,
 interviewed many other putative Class Members, reviewed vehicle repair records,
 analyzed Technical Service Bulletins addressing the relevant issues, symptoms for
 the Class Vehicles, analyzed owners’ and warranty manuals for the Class Vehicles,
 researched publicly available documents and reviewed other materials, to determine
 the extent to which the alleged vehicle issues affected the putative Class, as well as

 VWGoA’s alleged knowledge. Zohdy Decl. ¶¶ 12-14. In addition, Class counsel
 continued to respond to inquiries from many putative Class Members and investigate
 their complaints. Id. at ¶ 13. Class counsel also gained information from vehicle
 inspections, including inspection of certain Plaintiffs’ vehicles. Id. Then, in light of
 settlement negotiations, the parties informally exchanged information, including



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 technical information, regarding the nature of the alleged issues, condition of the
 Settlement Class Vehicles, and Defendant’s ameliorative actions. Id. at ¶ 10. See

 Udeen, 2019 WL 4894568, at *3 (third Girsh factor supported preliminary approval
 even when discovery was not “overly extensive”); In re Nat'l Football League
 Players Concussion Injury Litig., 821 F.3d 410, 436 (3d Cir. 2016). VWGoA has

 been trying to fix the problem since at least 2013 by issuing Technical Service
 Bulletins (“TSBs”). See Zohdy Decl., ¶ 14; Compl. ¶¶ 270-271.
       Based on this information and investigation, Class Counsel gained an

 understanding of both the strengths and weaknesses of Plaintiffs’ claims and other
 the anticipated defenses to those claims. In particular, both sides would face risks
 were the litigation to proceed, and in contrast to the complexity, delay, risk, and

 expense of continued litigation, the proposed Settlement will produce certain,
 prompt and very substantial benefits for the Settlement Class.
       The immediacy and certainty of the significant benefits provided by the
 Settlement supports granting preliminary approval. See In re Ins. Brokerage
 Antitrust Litig., 282 F.R.D. 92, 103 (D.N.J. 2012) (“By reaching a favorable
 Settlement . . . Class Counsel have avoided significant expense and delay and have
 also provided an immediate benefit.”).
       The benefit provided to the Settlement Class is substantial, addresses the
 alleged issues in this litigation, is in line with similar automotive class-action
 settlements, and is fair, reasonable, and adequate. See e.g., Udeen, 2019 WL
 4894568, at *1 (preliminarily approving a settlement that reimbursement of certain
 repair-related expenses); Parrish v. Volkswagen Grp. of Am., Inc., No. 8:19-cv-



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 01148 (C.D. Cal. Jan. 27, 2022), ECF 81 (preliminarily approving class action
 settlement, which provided a reimbursement for previous out of pocket costs of

 specified transmission-related repairs, to owners and lessees of certain 2019
 Volkswagen Jetta or 2018, 2019, or 2020 Volkswagen Tiguan vehicles); Patrick v.
 Volkswagen Grp. of Am., Inc., 2021 WL 3616105 (C.D. Cal. Mar. 10, 2021), ECF

 72 (finally approving class action settlement, which provided reimbursement for
 previous out of pocket costs for repairs of specified engine stalling issues, to owners
 and lessees of certain 2019 and 2020 Volkswagen Golf GTI or Jetta GLI vehicles

 equipped with manual transmissions suffering from an alleged engine stalling
 defect); Saint v. BMW of N. Am., LLC, 2015 WL 2448846 (D.N.J. May 21, 2015)
 (finding settlement that provided a warranty extension of three months and a

 reimbursement program to owners or lessees of service demo vehicles was fair
 reasonable and adequate and finally approving class-action settlement).

             3.      Class Counsel Have Extensive Experience in Similar
                     Litigation

       As set forth in greater detail below and in the Declarations appended to this
 motion, proposed Class Counsel are highly experienced and skilled in handling
 complex class actions, and in particular, automotive class actions such as this.

 Proposed Class Counsel have served in leadership positions many class actions and
 have successfully obtained meaningful recoveries for consumers through class
 litigation. See Zohdy Decl. at ¶¶ 24-27; Declaration of Russell D. Paul (“Paul
 Decl.”) at ¶¶ 4-7. Accordingly, this factor strongly supports granting preliminary
 approval.



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            4.       The Girsh Factors Support Preliminary Approval

       Although the foregoing analysis is sufficient for the Court to grant preliminary
 approval, courts sometimes consider the final approval factors to mitigate any

 potential issues in the future. Udeen, 2019 WL 4894568, at *3.11 The Third Circuit
 directs district courts to analyze the following nine factors at the final approval stage:

              (1) the complexity, expense and likely duration of the
              litigation; (2) the reaction of the class to the settlement;
              (3) stage of the proceedings and the amount of discovery
              completed; (4) risks of establishing liability; (5) risks of
              establishing damages; (6) risks of maintaining the class
              action through the trial; (7) ability of the defendants to
              withstand a greater judgment; (8) the range of
              reasonableness of the settlement fund in light of the best
              possible recovery; and (9) the range of reasonableness of
              the settlement fund to a possible recovery in light of all
              the attendant risks of litigation.

 Girsh, 521 F.2d at 157. All of the Girsh factors that the Court can analyze at this
 stage support preliminary approval.12
       As to the first factor, the complexity, expense, and likely duration support

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    Rule 23(e) was amended in December 2018 to specify uniform standards for
 settlement approval. Courts in this district have continued to apply the same legal
 standards to preliminary approvals after the 2018 amendments. See, e.g., Udeen,
 2019 WL 4894568; Smith v. Merck & Co., 2019 WL 3281609 (D.N.J. July 19, 2019).
 Further, “[t]he 2018 Committee Notes to Rule 23 recognize that, prior to this
 amendment, each circuit had developed its own list of factors to be considered in
 determining whether a proposed class action was fair[.]” Huffman v. Prudential Ins.
 Co. of Am., 2019 WL 1499475, at *3 (E.D. Pa. Apr. 5, 2019) (citing Fed. R. Civ. P.
 23(e)(2), Advisory Committee Notes). “[T]he goal of the amendment is not to
 displace any such factors, but rather to focus the parties [on] the ‘core concerns’ that
 motivate the fairness determination.” Id. In this Circuit, the Girsh factors govern the
 analysis.
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   The reaction of the class cannot be evaluated until after notice is issued to the
 Class Members pursuant to the Settlement.



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 preliminary approval because, without the Settlement, the parties would be engaged
 in contested motion practice and adversarial litigation for years. The claims

 advanced on behalf of the Settlement Class Members involve complex technical,
 engineering and legal issues. Continued litigation would be complex, time
 consuming and expensive, with no certainty of a favorable outcome. The Settlement

 Agreement secures substantial benefits for the Settlement Class while avoiding the
 delays, risks and uncertainties of continued litigation.
       The third factor, the stage of the proceedings and the amount of discovery

 completed, also supports preliminary approval. In addition, Plaintiffs’ counsel have
 conducted their own extensive independent investigation into the alleged issues, and
 informally obtained detailed information from Defendant. The information

 investigated and obtained has allowed Plaintiffs’ counsel to understand the strengths
 and weaknesses of their case, and to analyze the risks of future litigation in
 comparison to the relief offered by the Settlement. Udeen, 2019 WL 4894568, at *3.
       The fourth, fifth, and sixth factors all analyze the risks of continued litigation.
 If the parties had been unable to resolve this case through the Settlement, the
 litigation would likely have been protracted and costly. Plaintiffs’ counsel have
 litigated many automotive class actions that have taken several years to conclude.
 Before ever approaching a trial in this case, the parties likely would have briefed,
 and the Court would have had to decide, discovery-related motions, a motion for
 class certification (along with a potential Rule 23(f) appeal), motions for summary
 judgment, as well as Daubert /FRE 702 motions and other pre-trial and trial-related
 motions. Additionally, considerable resources would have been expended on



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 discovery, depositions, and expert witnesses.
       Moreover, there is a risk of not obtaining class certification should this action

 be litigated rather than settled. Defendant is likely to assert numerous defenses that
 may apply to many individual putative class members under the applicable laws of
 their respective states, such as lack of standing, statute of limitations, privity, and

 others, which, if litigated, could substantially if not completely bar many Settlements
 Class Members’ claim and/or recovery. Likewise, if this action is litigated, there are
 other potentially predominating individualized issues relating to each putative class

 member’s claim including the facts and circumstances of each putative class
 member’s purchase or lease transaction; what, if anything, each putative class
 member viewed, heard and/or relied upon prior to purchase or lease; individual

 vehicle-related facts including the maintenance, use, repair history, and physical and
 mechanical condition of each vehicle; whether individual putative class members
 ever experienced the alleged issues; and the individual facts and circumstances of
 any putative class member’s interactions, if any, with Audi dealers with respect to
 the breach of warranty claims.
       Conversely, in the context of a class settlement, these potential impediments
 do not preclude certification of a nationwide Settlement Class, since the Court is not
 faced with the significant manageability problems of a trial. See Amchem Prod Inc.
 v. Windsor, 521 U.S. 591, 620 (1997) (individual issues that may preclude class
 certification in litigation do not preclude class certification for settlement purposes,
 since manageability at trial is no longer a concern).
       Courts routinely find the seventh factor – the defendant’s ability to withstand



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 greater judgement – to be neutral, as it is here. Such a factor is typically only relevant
 when “the defendant’s professed inability to pay is used to justify the amount of the

 settlement.” In re Nat'l Football League Players Concussion Injury Litig., 821 F.3d
 at 440. This not a factor here.
        Finally, the remaining Girsh factors – the range of reasonableness of the

 settlement both independently and weighed against the risk of further litigation –
 support preliminary approval. While it is important to remember that “settlement is
 a compromise,” the proposed Settlement is reasonable and confers a substantial

 benefit on the Settlement Class, namely an extended warranty and reimbursement
 for out-of-pocket repair expenses. As a result, the 8th and 9th Girsh factors are also
 fulfilled because these factors involve analyzing the outcome of the Settlement in

 comparison to the potential risks of litigation. See, e.g., In re Nat'l Football League
 Players Concussion Injury Litig., 821 F.3d at 440 (“In evaluating the eighth and
 ninth Girsh factors, we ask ‘whether the settlement represents a good value for a
 weak case or a poor value for a strong case.”’) (citation omitted).
        The settlement must be judged “against the realistic, rather than theoretical
 potential for recovery after trial.” Sullivan v. DB Invs., Inc., 667 F.3d 273, 323 (3d
 Cir. 2011). In conducting the analysis, the court must “guard against demanding too
 large a settlement based on its view of the merits of the litigation; after all, settlement
 is a compromise, a yielding of the highest hopes in exchange for certainty and
 resolution.” In re Gen. Motors Corp. Pick-Up Truck Fuel Tank Prods. Litig., 55
 F.3d at 806; see also In re Shop-Vac Mktg. & Sales Pracs. Litig., 2016 WL 3015219,
 at *2 (M.D. Pa. May 26, 2016) (“The proposed settlement amount does not have to



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 be dollar-for-dollar the equivalent of the claim…and a satisfactory settlement may
 only amount to a hundredth or even a thousandth part of a single percent of the

 potential recovery.”) (internal citations and quotations omitted). Here, as shown, the
 settlement provides significant benefits to the Settlement Class Members in the form
 of a Warranty Extension and reimbursements for certain out-of-pocket costs of a

 repair for a diagnosed condition of excessive oil consumption or a diagnosed
 condition of a fractured piston(s). And the reasonable class notice expense, claim
 administration expense, counsel fees/expenses and/or service awards are paid by

 Defendant without reducing, in any way, any Settlement Class Member’s available
 benefits.

       B.     Certification of the Settlement Class Is Appropriate for
              Settlement Purposes

       Both the Supreme Court and various circuit courts have recognized that the
 benefits of a proposed settlement of a class action can be realized only through the
 certification of a settlement class. See Amchem Products Inc., 521 U.S. 591 at 620;
 Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998). Accordingly,
 Plaintiffs seek the certification of the Settlement Class set forth above for settlement
 purposes. “Rule 23 of the Federal Rules of Civil Procedure allows this Court to

 certify a class for settlement purposes only,” Chemi v. Champion Mortg., 2009 WL
 1470429, at *6 (D.N.J. May 26, 2009), and here, certification of the Settlement Class
 for settlement purposes only clearly satisfies the Rule 23(a) and 23(b)(3) factors,
 especially under the standards for preliminary approval.
       In the Third Circuit, “a class action—whether certified for settlement or



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 litigation purposes—must meet the class requisites enunciated in Rule 23.” In re
 Gen. Motors Corp. Pick-up Truck Fuel Tank Prod. Liab. Litig., 55 F.3d at 778, 800.

            1.      Numerosity Under Rule 23(a)(1)

       Rule 23(a)(1) requires that the class be “so numerous that joinder of all
 members is impracticable.” Fed. R. Civ. P. 23(a)(1). “[G]enerally, if the named
 plaintiff demonstrates that the potential number of plaintiffs exceeds 40, the

 [numerosity requirement] of Rule 23(a) has been met.” Stewart v. Abraham, 275
 F.3d 220, 226-227 (3d Cir. 2001) (citation omitted). The Settlement Class is
 comprised of all persons and entities who purchased or leased a Settlement Class
 Vehicle in the United States of America and Puerto Rico. S.A. § I.V.
       The number of Settlement Class Vehicles in the putative class here is 2-5,152.
 Therefore, the numerosity requirement has been met.

            2.      Commonality Under Rule 23(a)(2)

       Rule 23(a)(2) requires that there be “questions of law or fact common to the
 class.” Fed. R. Civ. P. 23(a)(2). The test for commonality is “easily met.” Baby Neal
 for & by Kanter v. Casey, 43 F.3d 48, 56 (3d Cir. 1994). All that is required is that
 “the named plaintiffs share at least one question of fact or law with the grievances
 of the prospective class.” Stewart, 275 F.3d at 227. “A finding of commonality does

 not require that all class members share identical claims, and factual differences
 among the claims of the putative class members do not defeat certification.” In re
 Prudential Ins. Co. Am. Sales Prac. Litig. Agent Actions, 148 F.3d 283, 310 (3d Cir.
 1998). The Supreme Court has stated that Rule 23(a)(2)’s commonality requirement




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 is satisfied where the plaintiffs assert claims that “depend upon a common
 contention” that is “of such a nature that it is capable of classwide resolution -- which

 means that determination of its truth or falsity will resolve an issue that is central to
 the validity of each one of the claims in one stroke.” Wal-Mart Stores, Inc. v. Dukes,
 564 U.S. 338, 350 (2011) (“[F]or purposes of Rule 23(a)(2) even a single common

 question will do.”).
       In this case, there are common questions of law and fact, such as, inter alia:
 (1) whether the Settlement Class Vehicles suffer from the alleged defects relating to

 the pistons within the 2.0T engine; (2) whether the defects relating to the pistons in
 the 2.0T engines implicate safety issues; (3) whether VWGoA knew about the
 alleged defects and, if so, for how long; and (4) whether the alleged defective nature

 of the pistons constitutes a material fact. Commonality is, therefore, satisfied. See
 Henderson v. Volvo Cars of N. Am., LLC, 2013 WL 1192479, at *4 (D.N.J. Mar. 22,
 2013) (“Several common questions of law and fact exist in this case, including
 whether the transmissions in the Class Vehicles suffered from a design defect,
 whether Volvo had a duty to disclose the alleged defect, whether the warranty
 limitations on Class Vehicles are unconscionable or otherwise unenforceable, and
 whether Plaintiffs have actionable claims.”). For classes alleging automobile defects,
 such questions are common. See Udeen, 2019 WL 4894568, at *5 (commonality
 satisfied where there were numerous common questions regarding whether the class
 vehicles were defective); Alin v. Honda Motor Co., 2012 WL 8751045 at*5 (D.N.J.
 April 13, 2012) (finding commonality and predominance satisfied where “class
 vehicles allegedly suffer from defects that cause their air conditioning systems to



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 break down, although there are differences as to how the breakdowns occur”).

            3.       Typicality Under Rule 23(a)(3)

       Rule 23(a)(3) requires that a representative plaintiff’s claims be “typical” of

 those of other class members. Fed. R. Civ. P. 23(a)(3). “The typicality requirement
 is designed to align the interests of the class and the class representatives so that the
 latter will work to benefit the entire class through the pursuit of their own goals.”

 Barnes v. Am. Tobacco Co., 161 F.3d 127, 141 (3d Cir. 1998). “As with numerosity,
 the Third Circuit has ‘set a low threshold’ for satisfying typicality, holding that ‘[i]f
 the claims of the named plaintiffs and class members involve the same conduct by
 the defendant, typicality is established….’” In re Ins. Brokerage Antitrust Litig., 297
 F.R.D. at 149 (alternations in original) (citation omitted).
       Here, the claims of Plaintiffs and the Settlement Class Members arise out of

 the same alleged defects and VWGoA course of conduct. See Henderson, 2013 WL
 1192479, at *5 (typicality satisfied where “the claims made by the named Plaintiffs
 and those made on behalf of Settlement Class Members arise out of the same alleged
 conduct by Volvo – namely, Volvo’s design, manufacture and sale of the allegedly
 defective Class Vehicles and Volvo’s alleged failure to disclose the defect.”); Skeen
 v. BMW of N. Am., LLC, 2016 WL 70817, at *6 (D.N.J. Jan. 6, 2016) (typicality

 satisfied where class suit alleged defendants “knowingly placed Class Vehicles
 containing the alleged defect into the stream of commerce and refused to honor its
 warranty obligations”). This requirement is, likewise, met here.




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            4.       Adequacy of Representation Under Rule 23(a)(4)

       The final requirement of Rule 23(a) is that “the representative parties will
 fairly and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). In

 determining the adequacy of representation, the court should “‘evaluate [both] the
 named plaintiffs’ and … counsel’s ability to fairly and adequately represent class
 interests.’” Gotthelf v. Toyota Motor Sales, U.S.A., Inc., 525 Fed. Appx. 94, 100-101

 (3d Cir. 2013) (alterations in original; citation omitted)). In doing so, “the district
 court ensures that no conflict of interest exists between the named plaintiffs’ claims
 and those asserted on behalf of the class, and inquires whether the named plaintiffs
 have the ability and incentive to vigorously represent the interests of the class.” Id.
 at 101 (citing In re Cmty. Bank of N. Virginia, 622 F.3d 275, 291 (3d Cir. 2010)).
       In addressing the adequacy of the proposed class representative, district courts
 examine whether he or she “has the ability and incentive to represent the claims of
 the class vigorously, that he or she has obtained adequate counsel, and that there is
 no conflict between the individual’s claims and those asserted on behalf of the class.”
 Hassine v. Jeffes, 846 F.2d 169, 179 (3d Cir. 1988). Here, all of the Representative
 Plaintiffs are adequate because they purchased Settlement Class Vehicles and were
 allegedly injured in the same manner based on the same alleged defect as absent

 Class Members. They have also actively participated in the litigation of this case and
 been in regular communication with their attorneys regarding these proceedings.
       The Settlement Agreement designates Berger Montague PC, Capstone Law

 APC (“Capstone”), and the Ladah Law Firm, all experienced and respected class
 action firms, as co-Class Counsel. Class Counsel have significant experience



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 litigating consumer class actions, including automobile-defect class actions. See
 Zohdy Decl. at ¶¶ 24-27 and Ex. B; Paul Decl. at ¶¶ 4-7 and Ex. A; Declaration of

 Ramzy P. Ladah (“Ladah” Decl.) ¶¶ 4-5 and Ex. A. Class Counsel have invested
 considerable time and resources into the prosecution of this action. They have a
 wealth of experience in litigating complex class actions and were able to negotiate

 an outstanding settlement for the Class. The extensive experience of Class Counsel
 is discussed more fully in their Declarations filed concurrently herewith. Based on
 the results achieved here, the Court should appoint these attorneys as Class Counsel

 for the Class and determine that Rule 23(a)’s adequacy requirement is satisfied.
       Further, Plaintiffs have no interest adverse or “antagonistic” to the absent
 Class Members. Each of the Plaintiffs is an owner of a Settlement Class Vehicle who

 claims to have experienced the piston defect which is the condition at issue. Plaintiffs
 have no interests antagonistic to the other Settlement Class Members and will
 continue to vigorously represent the Settlement Class's interests. The interests of
 Plaintiffs and other Class Members are aligned in seeking to maximize the Class's
 recovery relating to the alleged defect. See In re Philips/Magnavox Television Litig.,
 2012 WL 1677244, at *6 (D.N.J. May 14, 2012) (plaintiffs adequately represent the
 interests of class where they purchased the same allegedly defective televisions as
 the rest of the class and were allegedly injured in the same manner).

            5.       The Requirements of Rule 23(b)(3) Are Met

       Plaintiffs seek to certify the Class under Rule 23(b)(3), which has two

 components: predominance and superiority. When assessing predominance and
 superiority, the court may consider that the class will be certified for settlement



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 purposes only, and that a showing of manageability at trial is not required. See
 Amchem Products Inc., 521 U.S. at 618 (“Confronted with a request for settlement-

 only class certification, a district court need not inquire whether the case, if tried,
 would present intractable management problems… for the proposal is that there be
 no trial.”); Marchese v. Cablevision Sys. Corp., 2016 WL 7228739, at *2 (D.N.J.

 Mar. 9, 2016) (There is “a ‘key’ distinction between certification for settlement
 purposes and certification for litigation: when taking a proposed settlement into
 consideration, individual issues which are normally present in litigation usually

 become irrelevant, allowing the common issues to predominate.”).
       The Third Circuit has reiterated that the focus of the predominance “inquiry
 is on whether the defendant’s conduct was common as to all of the class members,

 and whether all of the class members were harmed by the defendant’s conduct.”
 Sullivan, 667 F.3d at 298. Here, there are several common questions of law and fact
 that predominate over any questions that may affect individual Class Members,
 especially for settlement purposes. For example, were this case to proceed, the focus
 would be whether VWGoA is liable to the Class under the claims pled, based on the
 alleged existence of a piston defect and VWGoA’s related conduct. Both issues are
 subject to generalized proof, and reflect a question that is common to all class
 members. See Henderson, 2013 WL 1192479, at *6. Accordingly, the predominance
 prong of Rule 23(b)(3) is satisfied.
       The second prong of Rule 23(b)(3) – that a class action be superior to other
 available methods for the fair and efficient adjudication of the controversy – is also
 readily satisfied. See Fed. R. Civ. P. 23(b)(3). Superiority requires the Court to



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 consider whether or not “a class action is superior to other available methods of fairly
 and efficiently adjudicating the controversy.” Sullivan, 667 F.3d at 296 (citations

 omitted). Rule 23(b)(3) provides a non-exhaustive list of factors to be considered
 when making this determination. McCoy v. Health Net, Inc., 569 F. Supp. 2d 448,
 457 (D.N.J. 2008). These factors include: “(i) the class members’ interests in

 individually controlling the prosecution or defense of separate actions; (ii) the extent
 and nature of any litigation concerning the controversy already begun by or against
 class members; (iii) the desirability or undesirability of concentrating the litigation

 of the claims in the particular forum; and (iv) the likely difficulties in managing a
 class action.” Id. (quoting Fed. R. Civ. P. 23(b)(3)).
       The Settlement Agreement provides Class Members with substantial prompt,

 predictable, and certain relief, with well-defined procedures to ensure due process,
 such as affording the right of any Class Members who are dissatisfied with the
 Settlement to object or to exclude themselves. The Settlement also would relieve the
 substantial judicial burdens that would be caused by repeated adjudication of the
 same issues in thousands of individualized trials against VWGoA. See Marchese,
 2016 WL 7228739, at *2 (finding that certification of a class for settlement purposes
 is more efficient than separate litigation of numerous individual claims). To litigate
 the claims of the potential Class Members on an individual basis would be
 economically infeasible and result in “needless duplication of effort.” See
 Henderson, 2013 WL 1192479, at *6 (citation omitted). And because the Parties
 seek to resolve this case through a settlement, any manageability issues that could
 have arisen at trial are marginalized. Sullivan, 667 F.3d at 302-03. Therefore, “class



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 status here is not only the superior means, but probably the only feasible [way] . . .
 to establish liability and perhaps damages.” In re Nassau Cnty. Strip Search Cases,,

 461 F.3d 219, 229 (2d Cir. 2006) (quoting Tardiff v. Knox Cnty, 365 F.3d 1, 7 (1st
 Cir. 2004)).
       In sum, because the requirements of Rule 23(a) and Rule 23(b)(3) are

 satisfied, certification of the proposed Settlement Class is appropriate.

       C.       The Court Should Appoint Plaintiff’s Counsel as Settlement Class
                Counsel

       The Fed. R. Civ. P. 23(g) requires a court to appoint class counsel. In

 appointing class counsel, the Court “must” consider:
       •      the work counsel has done in identifying or investigating
              potential claims in the action;
       •      counsel’s experience in handling class actions, other complex
              litigation, and the types of claims asserted in the action;
       •      counsel’s knowledge of the applicable law; and
       •      the resources that counsel will commit to representing the class.

 Fed. R. Civ. P. 23(g)(1)(A). The court “may” also consider “any other matter
 pertinent to counsel’s ability to fairly and adequately represent the interests of the
 class.” Fed. R. Civ. P. 23(g)(1)(B).
       Proposed Class Counsel, including Berger Montague PC, Capstone Law APC,
 and the Ladah Law Firm, clearly satisfy this criteria and have already been appointed

 by this Court as Interim Class Counsel for the nationwide putative class under Rule
 23(g). These firms expended time, effort, and expense investigating this action and
 the bona fides of the Settlement herein. Further, as set forth in their respective
 Declarations submitted herewith, they are highly experienced in consumer and other




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 complex class action litigation. See Zohdy Decl. at ¶¶ 24-27 and Ex. B; Paul Decl.
 at ¶¶ 4-7 and Ex. A; Declaration of Ramzy P. Ladah (“Ladah” Decl.) ¶¶ 4-5 and Ex.

 A. It is clear from the firm’s track record of success that proposed Class Counsel are
 highly skilled and knowledgeable concerning consumer law and class action
 practice. As confirmed by the result obtained in this case, Class Counsel have made

 the investment and have the experience to represent the Class vigorously.
 Accordingly, the appointment of the proposed Class Counsel under Rule 23(g) is
 warranted.

       D.     The Court Should Approve the Notice Plan

       Under Federal Rule of Civil Procedure 23(e), class members who would be
 bound by a settlement are entitled to reasonable notice before the settlement is
 approved. See Fed. Jud. Ctr., Manual for Complex Litig. Fourth, § 30.212 (2004). In

 an action certified for settlement purposes under Rule 23(b)(3) “the court must direct
 to class members the best notice that is practicable under the circumstances,
 including individual notice to all members who can be identified through reasonable
 effort.” Fed. R. Civ. P. 23(c)(2)(B). “Generally speaking, the notice should contain
 sufficient information to enable class members to make informed decisions on
 whether they should take steps to protect their rights, including objecting to the

 settlement or, when relevant, opting out of the class.” In Re Nat’l Football League
 Players Concussion Injury Litig., 821 F.3d at 435.
       The notice plan described above and set forth in sections III and IV of the

 Settlement Agreement provides the best notice practicable under the circumstances.
 Here, the Notice Program includes: (1) mailing a First Class Notice to the Settlement



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 Class; (2) a settlement website established to allow Settlement Class Members to
 obtain information regarding the Settlement and access important documents

 regarding the Settlement; and (3) a toll-free number to provide Settlement Class
 Members with information regarding the Settlement. First Class Notices and Full
 Notices provided in this manner have been held to be sufficient. Udeen, 2019 WL

 4894568, at *7; Patrick v. Volkswagen Grp. Of Am., 2021 WL 3616105, at *5. The
 content and substance of the proposed notice, which is attached as Exhibit 2 the
 Settlement Agreement, will include all necessary legal requirements and provide a

 comprehensive explanation of the Settlement in simple layman’s terms. See Fed. R.
 Civ. P. 23(c)(2)(B). Accordingly, the Parties respectfully request that the Court
 approve the Notice Plan.

       E.     A Final Approval Hearing Should be Scheduled

       Finally, the Court should schedule a final approval hearing to decide whether
 to grant final approval to the Settlement, address Class Counsel’s request for
 attorneys’ fees, expenses, and an incentive award for the Representative Plaintiffs,
 consider any objections and exclusions, and determine whether to dismiss this action
 with prejudice. See Fed. Jud. Ctr., Manual for Complex Litig. Fourth, § 30.44 (2004);
 Ehrheart v. Verizon Wireless, 609 F.3d 590, 600 (3d Cir. 2010). Plaintiffs

 respectfully request that the final approval hearing be scheduled for approximately
 six months from the date the preliminary approval order is entered.
 V.    CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that this Court enter
 an Order: (1) granting preliminary approval of the Settlement; (2) conditionally



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 certifying the proposed Settlement Class for settlement purposes; (3) conditionally
 appointing Plaintiffs as the Settlement Class Representatives and Plaintiffs’

 Counsel, Berger Montague PC, Capstone Law APC, and Ladah Law Firm, as
 Settlement Class Counsel; (4) approving the Parties’ proposed Class Notice Plan for
 disseminating the Class Notice; (5) conditionally appointing JND Legal

 Administration, as the Settlement Claim Administrator; (6) setting deadlines for the
 filing of any objections to, or requests for exclusion from the Settlement and other
 submissions in connection with the Settlement approval process; and (7) setting a

 hearing date and briefing schedule for Final Approval of the Settlement and
 Plaintiffs’ application for service awards and attorneys’ fees and expenses.




 Dated: October 11, 2023               Respectfully Submitted,

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